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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS



                                                 MDL NO. 1:15-md-2657-FDS
                                                 This document relates to:
IN RE: ZOFRAN® (ONDANSETRON)
                                                 All Actions
PRODUCTS LIABILITY LITIGATION




              PLAINTIFFS’ AND GSK’S PROPOSED AGENDA FOR
                    MAY 12, 2021 STATUS CONFERENCE

 1. Filings Update

 2. Discovery Update

 3. FDA’s Approval of Updated Labeling (Dkt. 2144)

 4. GSK’s Supplemental Expert Reports and Notice of Supplemental Authority Related to
    Dormuth Study (Dkt. 2146) and Plaintiffs’ Response (Dkt. 2147)

 5. Rodriguez – Argument on GSK’s Motion for Relief from Order and to Compel
    Authorizations to Collect Educational Records (Dkt. 203)

 6. Rodriguez Trial Update

 7. Argument on GSK’s Motions for Order to Show Cause

       a. Graves, No 1:17-cv-11562 (Dkt. 104)

       b. Rosser, No 1:15-cv-14076 (Dkt. 149)

 8. Responses to the Court’s March 24, 2021 Orders to Show Cause (May 10 deadline)

       a. Birt, No. 1:15-cv-13740

       b. Nelson, No. 1:20-cv-11210

       c. VanMatre, No. 1:15-cv-14102

       d. Fair, No. 1:17-cv-10755 (Dkt. 120 & Dkt. 121)

 9. Update on Responses to the Court’s March 24, 2021 Orders to Show Cause (April 14
    deadline)
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      a. Barnhill, No. 1:17-cv-11852 (Dkt. 108)

      b. Munguia, No. 1:17-cv-10126 (Dkt. 118 & Dkt. 119)

      c. Wahid-Dail, No. 1:19-cv-10165 (Dkt. 86 & Dkt. 87)

      d. David, No. 1:19-cv-10239 (Dkt. 85, Dkt. 88 & Dkt. 89)

10. Update on Motions for Order to Show Cause Under Advisement

      a. Gibbs, No. 1:17-cv-10995 (Dkt. 106)

      b. Jones, No. 1:16-cv-10010 (Dkt. 143)

      c. Woods, No 1:17-cv-10646 (Dkt. 108)




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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing (“NEF”) and paper copies will be sent via first class mail to those identified
as non-registered participants.

                                             /s/ Jennifer Stonecipher Hill
                                             Jennifer Stonecipher Hill




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